                     UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION

                          Civil Action No. 3:16-cv-739

DENNIS YANCEY,

     Plaintiff,
v.


INGERSOLL-RAND COMPANY,

     Defendant.




                                EXHIBIT 2
                             (Notice of Removal)




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